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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                      :
St. Clair Insurance Company,                          :
                                                      :
                      Plaintiff,                      :
                                                      : 2:16-CV-05706 (JFB)(SIL)
               v.                                     :
                                                      : NOTICE OF DISMISSAL
Louis Campisano and Atlantic ICS Corp.,               :
                                                      :
                      Defendants.                     :
                                                      :

       Plaintiff St. Clair Insurance Company, by and through its undersigned attorneys, hereby

dismisses the above-referenced action, with prejudice and without costs against any party,

pursuant to Rule 41(a)(i) of the Federal Rules of Civil Procedure.


Dated: New York, New York                    Respectfully submitted:
February 28, 2017
                                             DUANE MORRIS LLP

                                             By: /s/ Evangelos Michailidis
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                                             SO ORDERED:




                                                 Hon. Joseph F. Bianco
                                                 United States District Judge
